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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


  IN RE CITIBANK AUGUST 11, 2020                          No. 1:20-cv-06539 (JMF)
  WIRE TRANSFERS




          CITIBANK’S NOTICE OF DISMISSAL OF COMPLAINT AGAINST
           DEFENDANT INVESTCORP CREDIT MANAGEMENT US LLC

       PLEASE TAKE NOTICE that Plaintiff Citibank, National Association (“Citibank”),

pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, hereby dismisses with

prejudice all causes of action in the complaint against defendant Investcorp Credit Management

US LLC (“Investcorp”). This notice does not apply to any other party.

       Investcorp has filed neither an answer to the complaint nor a motion for summary judgment

as to these claims. Dismissal under Rule 41(a)(1) is therefore appropriate.

Dated: October 14, 2020
       New York, New York

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